       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Endalkachew Merid
       v. Commonwealth of Virginia
       Record No. 1145-19-4
       Opinion rendered by Judge Petty on
        May 12, 2020

    2. Karen Rompalo
       v. Commonwealth of Virginia
       Record No. 1717-18-4
       Opinion rendered by Judge AtLee on
        June 2, 2020

    3. Kevin Diaz Gomez, s/k/a
       Kevin Diaz-Gomez
       v. Commonwealth of Virginia
       Record No. 0369-19-4
       Opinion rendered by Judge Petty on
        June 9, 2020

    4. Coshaun Tyrell Bryant
       v. Commonwealth of Virginia
       Record No. 0221-19-1
       Opinion rendered by Judge Beales on
        June 16, 2020
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Ronnie Leon Bryant
   v. Commonwealth of Virginia
   Record No. 1907-17-4
   Opinion rendered by Judge Humphreys
    on September 10, 2019
   Dismissed pursuant to Rule 5:17(c)(1)(iii) (191347)

2. Ryan Oneal Davis
   v. Commonwealth of Virginia
   Record No. 1193-18-2
   Opinion rendered by Judge Huff
    on October 8, 2019
   Refused (191460)

3. Carlos Artur Alvarez Saucedo
   v. Commonwealth of Virginia
   Record No. 1440-18-3
   Opinion rendered by Judge O’Brien
    on October 29, 2019
   Refused (191561)

4. Shannon Shamar Cousett
   v. Commonwealth of Virginia
   Record No. 0967-18-1
   Opinion rendered by Judge Humphreys
     on November 5, 2019
    Refused (200025)

5. Adam Christopher Armstrong
   v. Kristy Marie Armstrong
   Record No. 0215-19-3
   Opinion rendered by Judge O’Brien
    on November 12, 2019
   Dismissed pursuant to Code § 17.1-410 and Rule 5:17(c)(2) (200061)

6. Gerard Lamontese Lee
   v. Commonwealth of Virginia
   Record No. 0076-19-1
   Opinion rendered by Judge Beales
    on November 19, 2019
   Refused (191687)
7. Robert Anthony Tyler Martinez
   v. Commonwealth of Virginia
   Record No. 1199-18-3
   Opinion rendered by Judge O’Brien
    on December 10, 2019
   Refused (200075)
